Case 4:11-cv-06714-YGR Document 1 Filed 12/29/11 Page 1 of 23
Case 4:11-cv-06714-YGR Document 1 Filed 12/29/11 Page 2 of 23
Case 4:11-cv-06714-YGR Document 1 Filed 12/29/11 Page 3 of 23
Case 4:11-cv-06714-YGR Document 1 Filed 12/29/11 Page 4 of 23
Case 4:11-cv-06714-YGR Document 1 Filed 12/29/11 Page 5 of 23
Case 4:11-cv-06714-YGR Document 1 Filed 12/29/11 Page 6 of 23
Case 4:11-cv-06714-YGR Document 1 Filed 12/29/11 Page 7 of 23
Case 4:11-cv-06714-YGR Document 1 Filed 12/29/11 Page 8 of 23
Case 4:11-cv-06714-YGR Document 1 Filed 12/29/11 Page 9 of 23
Case 4:11-cv-06714-YGR Document 1 Filed 12/29/11 Page 10 of 23
Case 4:11-cv-06714-YGR Document 1 Filed 12/29/11 Page 11 of 23
Case 4:11-cv-06714-YGR Document 1 Filed 12/29/11 Page 12 of 23
Case 4:11-cv-06714-YGR Document 1 Filed 12/29/11 Page 13 of 23
Case 4:11-cv-06714-YGR Document 1 Filed 12/29/11 Page 14 of 23
Case 4:11-cv-06714-YGR Document 1 Filed 12/29/11 Page 15 of 23
Case 4:11-cv-06714-YGR Document 1 Filed 12/29/11 Page 16 of 23
Case 4:11-cv-06714-YGR Document 1 Filed 12/29/11 Page 17 of 23
Case 4:11-cv-06714-YGR Document 1 Filed 12/29/11 Page 18 of 23
Case 4:11-cv-06714-YGR Document 1 Filed 12/29/11 Page 19 of 23
Case 4:11-cv-06714-YGR Document 1 Filed 12/29/11 Page 20 of 23
Case 4:11-cv-06714-YGR Document 1 Filed 12/29/11 Page 21 of 23
Case 4:11-cv-06714-YGR Document 1 Filed 12/29/11 Page 22 of 23
Case 4:11-cv-06714-YGR Document 1 Filed 12/29/11 Page 23 of 23
